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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION




UNITED STATES OF AMERICA,                     )      Case No.: 1:07CR271-01
                                              )
       Plaintiff                              )      JUDGE SOLOMON OLIVER, JR.
                                              )
       v.                                     )
                                              )      ORDER ACCEPTING PLEA
TERRY W. COPELAND,                            )      AGREEMENT, JUDGMENT AND
                                              )      REFERRAL TO U. S. PROBATION
       Defendant                              )      OFFICE



       This case is before the Court on a Report and Recommendation filed by United States

Magistrate Judge Nancy A. Vecchiarelli, regarding the change of plea hearing of , which was

referred to the Magistrate Judge with the consent of the parties.

       On May 8, 2007, the government filed a twenty-two count indictment, charging

Defendant, Terry W. Copeland, with Conspiracy to Commit Bank Fraud in violation of Title 18

United States Code, Section 371; Bank Fraud in violation of Title 18 United States Code,

Section 1344(1)(2); Forging Securities in violation of Title 18 United States Code, Section

513(a); and Theft of Mail in violation of Title 18 United States Code, Section 1708. On May

29, 2007, Defendant Copeland was arraigned and entered a plea of not guilty before Magistrate

Judge Patricia A. Hemann. On November 19, 2007, Magistrate Judge Nancy A. Vecchiarelli
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received Defendant Copeland’s plea of guilty to counts 1, 2, 3-12, 13-22 of the indictment and

issued a Report and Recommendation (“R&R”) concerning whether the plea should be accepted

and a finding of guilty entered.

       Neither party submitted objections to the Magistrate Judge’s R&R in the ten days after it

was issued.

       On de novo review of the record, the Magistrate Judge’s R&R is adopted. Defendant

Copeland is found to be competent to enter a plea and to understand his constitutional rights. He

is aware of the charges and of the consequences of entering a plea. There is an adequate factual

basis for the plea. The Court finds the plea was entered knowingly, intelligently, and

voluntarily. The plea agreement is approved.

       Therefore, Defendant Copeland is adjudged guilty of Counts 1, 2, 3-12, 13-22 of the

indictment, in violation of Title 8 United States Code, Section 371; Title 18 United States Code,

Section 1344(1)(2); Title 18 United States Code, Section 513(a) and Title 18 United States Code,

Section 1708. This matter is referred to the U. S. Probation Department for the completion of a

pre-sentence investigation and report. Sentencing will be on January 8, 2008, at 2:30 p.m. in

Courtroom 17-A, Carl B. Stokes United States Court House, 801 West Superior Avenue,

Cleveland, Ohio.

       IT IS SO ORDERED.



                                             /s/SOLOMON OLIVER, JR.
                                             UNITED STATES DISTRICT JUDGE
